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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                       CASE NO.I6-IOOO7-CR-MARTW EZ/SNOW IS)

 UN ITED STA TES O F A M ERICA

        Plaintiff,
V S.

 YAM ILET DEL CARM EN SELVA,

        Defendant.


       ORDER ADOPTING M AG ISTM TE'S REPORT AND REC OM M ENDATION

       TH IS CAUSE camebeforetheCourtupon theOrderofReferencefrom theDistrict

 Courtto conducta ChangeofPleabeforea M agistrateJudge.

       THE M ATTER wasreferredto M agistrateJudgeLurana S.Snow ,on August11,2016.

A ReportandRecommendationwastlledonAugust31,2016,(ECFNo.711,recommendingthat
the D efendant's plea ofguilty be accepted. Dlzring the Change ofPlea hearing,the M agistrate

JudgequestionedtheDefendantregarding herwaiverofappealin which the Defendant

 acknowledged ontherecord thatshewaswaiving orgiving up a1lrightsto appealanysentence

 imposed by the DistrictCourtinthiscase exceptunderthelimited circum stancescontained

within theappealwaiverprovision from thePleaAgreem ent.

       ThepartieswereaffordedtheopportunitytofileobjectionstotheReportand
 Recomm endation,howevernonewerefiled.The Courthasreviewed theentire file and record

 andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffirmsand
adoptsthe Reportand R ecom m endation. A ccordingly,itis hereby:

       ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.71)of
 United States M agistrate Judge Lurana S.Snow ,ishereby A FFIR M ED and AD O PTED in its

entirety.
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          TheDefendantisadjudgedguiltytoCount1oftheSupersedinglndictment,which
  chargesherwith conspiracy to transfera false identification docum ent,in violation ofTitle 18

  U.S.C.j 1028(9.
          DONEANDORDEREDinChambersatMiami,Florida,thisJldayofseptember,
  2016.



                                                  JO SE    M A TIN EZ
                                                  U N IT    STA TES D ISTRICT JU D GE



  Copied:
  Hon.M agistrate JudgeSnow
  A11CounselOfRecord
  U .S.Probation O ffice
